           Case 3:08-cr-05601-BHS           Document 32         Filed 10/08/08          Page 1 of 2



 1
                                                    THE HONORABLE BENJAMIN H. SETTLE
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT TACOMA
 9
     UNITED STATES OF AMERICA,                         ) Case No.: CR08-5601BHS
10                                                     )
                             Plaintiff,                )
11          vs.                                        ) AGREED ORDER EXTENDING
                                                       ) PRETRIAL MOTIONS CUTOFF DATE
12   LAWRENCE WILLIAMS,                                )
                                                       )
13                           Defendant.                )
                                                       )
14
                                                       )
15
             Before this Court is the defendant's motion to extend the pretrial motions cutoff date in
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     this matter, which is presently scheduled for October 2, 2008. Discovery is not yet complete in
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     this case, and it is anticipated that further discovery will be generated with the Indictment of an
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19   additional defendant. Therefore counsel requires more time to become familiar with this case in

20   order to effectively prepare for pretrial motions. The government has been contacted and has no

21   objection to the proposed extension of time to file pretrial motions. Trial is presently scheduled in
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     this matter for October 28, 2008.
23
             The Court finds, after a consideration of all relevant information and the circumstances of
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     this case, that defendant's motion for extension of time to file pretrial motions should be granted.
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     The pretrial motions cutoff date, presently scheduled for October 2, 2008 is VACATED.
26

27   ***

     AGREED ORDER EXTENDING PRETRIAL MOTIONS                               Law Office of Zenon Peter Olbertz
                                                                            1008 So. Yakima Ave., Suite 302
     CUTOFF DATE - 1                                                              Tacoma, WA 98405
                                                                          (253) 272-9967/Fax: (253) 572-1441
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 1   The pretrial motions cutoff date shall be RESCHEDULED TO October 9, 2008.
 2          IT IS SO ORDERED.
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            DONE this 8th day of October, 2008.
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13                                                    BENJAMIN H. SETTLE
                                                      United States District Judge
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15   Presented by:

16   LAW OFFICE OF
     ZENON PETER OLBERTZ
17   Attorney for Defendant

18           /s/

19   By: _________________________
        Zenon P. Olbertz
20      WSB #6080

21   UNITED STATES ATTORNEY’S OFFICE

22          Approved Telephonically: 10/01/2008

23   By: _________________________________
        Bruce F. Miyake
24      Assistant U.S. Attorney

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     AGREED ORDER EXTENDING PRETRIAL MOTIONS                      Law Office of Zenon Peter Olbertz
                                                                   1008 So. Yakima Ave., Suite 302
     CUTOFF DATE - 2                                                     Tacoma, WA 98405
                                                                 (253) 272-9967/Fax: (253) 572-1441
